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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                            §
                                                     §
v.                                                   §             CR. No. C-08-4 (1)
                                                     §
ELIAS PAIZ, JR.                                      §

                      ORDER GRANTING MOTION FOR EXTENSION
                     OF TIME TO APPEAL AND APPOINTING COUNSEL

        On June 24, 2008, the Clerk of this Court received a letter from Defendant Elias Paiz, Jr.

addressed to this Court. It has been properly docketed as both a Notice of Appeal (D.E. 71) and a

Motion for Extension of Time to Appeal. (D.E. 70.) Although Paiz’s motion was written and

“witnessed” by another individual because Paiz alleges he is “illiterate and cannot read or write

English nor any other language,” Paiz has signed the letter. In it, Paiz explains that he wants to appeal

his case, but that his attorney of record did not file an appeal. He also states that he does not believe

he was competent to stand trial due to his “long history of emotional and mental disorders namely

schizophrenia, paranoia and depression.” (D.E. 70 at 1.)1 Finally, Paiz alleges that he felt

“railroaded” and “misled throughout his case.” He explains that he wants to appeal but does not feel

that his attorney of record will help him. (Id.)

        The Court construes Paiz’s motion as seeking a motion for extension of time to appeal under

Fed. R. App. P. 4(b)(4), which allows a district court to grant an additional thirty days beyond the ten-

day period for appealing, with or without motion and notice, upon a finding of “excusable neglect or

good cause.” In order to be timely, Paiz’s Notice of Appeal had to be filed on or before May 28,




        1
          Interestingly, Paiz alleges that he was not evaluated for mental competence (D.E. 70 at 1), but the
docket sheet in his case in fact contains a report from his mental evaluation, as ordered by the Court. (D.E.
45, 50.)
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2008.2 He did not file a timely Notice of Appeal, but his letter seeking an extension and expressing

an intent to appeal was received by the Clerk on June 24, 2008, and the envelope enclosing it is post-

marked June 19, 2008. (D.E. 70 at 3.) Thus, he has sought an extension within the 30-day window

set forth in Fed. R. App. P. 4(b).

       Because Paiz’s notice of appeal was filed within that 30-day window, this Court can grant his

motion for extension of time upon finding excusable neglect or good cause. In his signed letter, Paiz

seeks an extension because his counsel failed to timely file an appeal. The Fifth Circuit has plainly

recognized that an attorney’s failure to file an appeal pursuant to a defendant’s request would be

ineffective assistance of counsel and would thus constitute excusable neglect for filing of untimely

appeal. United States v. Clark, 193 F.3d 845 (5th Cir. 1999). As in another Fifth Circuit case relied

upon and discussed in Clark, if the facts as alleged by Paiz are true, his attorney here did not file a

notice of appeal, nor did he seek to withdraw. See Clark, 193 F.3d at 847 (discussing United States

v. Bergeron, 74 F.3d 1238 (5th Cir. 1995)). Thus, assuming Paiz’s allegations to be true, he has

shown excusable neglect.

       For the foregoing reasons, the Court finds that good cause or excusable neglect exists for

Paiz’s late notice of appeal. Accordingly, his pro se notice of appeal should be deemed timely.

       To the extent that Paiz makes additional claims regarding his competency to stand trial or

whether his guilty plea was knowing or voluntary, those claims have no bearing on the timeliness of

his appeal and are better addressed either on appeal or in a motion under 28 U.S.C. § 2255. Thus, the

Court reaches no conclusions herein as to those allegations.




       2
           Judgment was entered against Paiz on May 13, 2008. Ten days after that date, excluding
intermediate weekends and the Memorial Day holiday pursuant to Fed. R. App. P. 26(a) was May 28, 2008.

                                                  2
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        Finally, the Court notes that Paiz was determined to be financially unable to obtain an adequate

defense in his underlying case and was represented throughout the proceedings by appointed counsel.

Thus, he has shown his financial eligibility for counsel. Cf. Fed. R. App. P. 24(a)(3) (criminal

defendant is entitled to proceed on appeal in forma pauperis without further authorization, absent a

contrary statute or a certification by the district court that the appeal is not taken in good faith or he

is otherwise not entitled to ifp status); see also Fed. R. Crim. P. 44 (a financially qualified defendant

is “entitled to have counsel appointed to represent [him] at every stage of the proceeding from initial

appearance through appeal, unless the defendant waives this right.”

        Paiz has not sought the appointment of new counsel, but has identified several specific alleged

errors by his appointed counsel in the underlying proceedings, including the alleged failure to appeal.

In light of those statements of dissatisfaction, the Court will appoint new counsel to represent Paiz on

appeal. Accordingly, Armando Cavada, Post Office Box 2286, Corpus Christi, Teas 78403, (361)

816-6549 is hereby appointed to represent Paiz on appeal. The Clerk is directed to provide a copy

of this Order to the parties, as well as to Mr. Cavada.

                                            CONCLUSION

        For the foregoing reasons, Paiz’s motion for extension of time to appeal (D.E. 70) is

GRANTED and his appeal is deemed timely filed. Armando Cavada is hereby appointed to represent

Paiz on appeal.


        ORDERED this 27th day of June, 2008.



                                                ____________________________________
                                                            Janis Graham Jack
                                                        United
                                                        \      States District Judge


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